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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


KEVIN CONNORS,
                                                    CIVIL ACTION NO.: 4:17-cv-1512
       Plaintiff,

v.

EDGAR HULIPAS, et al.,

       Defendants.


                            PLAINTIFF’S NOTICE OF APPEAL


TO THE HONORABLE VANESSA GILMORE:

       NOW COMES PLAINTIFF and files notice of appeal to the United States Fifth Circuit

Court of Appeals from the United States District Court for the Southern District of Texas,

Houston Division, appealing judgments and orders including:

       1).     The Final Judgment (Doc. 207) entered October 18, 2021.

       2).     The Opinion on Summary Judgment (Doc. 114) entered February 7, 2020.

       3).     All other orders in the case, if any, including those denied by mooting at final

judgment.

       The October 18, 2021 Final Judgment disposed of all claims and constituted a final

judgment making all orders subject to appeal.

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                                 PLAINTIFF’S NOTICE OF APPEAL
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       Date: November 14, 2021                      Respectfully submitted,

                                                    /s/ Jerold D. Friedman
                                                    Jerold D. Friedman
                                                    California SBN 290434
                                                    SDTX Federal ID 2117436
                                                    LAW OFFICE OF JEROLD D. FRIEDMAN
                                                    8544 W. Bellfort Blvd. #330
                                                    Houston, TX 77071
                                                    (213) 536-1244
                                                    fax (281) 667-3506
                                                    jerry@lawofficejdf.com
                                                    Attorney for Plaintiff




                                CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that he has electronically submitted a true and correct
copy of the above and foregoing via the Court’s electronic filing system on November 14, 2021.
FED.R.CIV.P. 5(b).
                                                    /s/ Jerold D. Friedman
                                                    Jerold D. Friedman




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                                PLAINTIFF’S NOTICE OF APPEAL
